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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF HAWAII

 TODD YUKUTAKE and DAVID                   )
 KIKUKAWA                                  )
                                           )
 Plaintiffs,                               )
                                           ) Civil Action No. 19-578 (JMS-RT)
 v.                                        )
                                           ) CERTIFICATE OF SERVICE
 CLARE E. CONNORS, in her                  )
 Official Capacity as the Attorney General )
 of the State of Hawaii                    )
                                           )
 Defendant.                                )
                                           ) JUDGE: Hon. J. Michael Seabright
 ____________________________________)




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                         CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the date indicated below, a copy of

 the foregoing document was filed electronically and served through CM/ECF to the

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             Dated: September 13, 2021.


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